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1      Robert Fish, Esq. (SBN 149711)
       rfish@fishiplaw.com
2      Mei Tsang, Esq. (SBN 237959)
       mtsang@fishiplaw.com
3      Rosie Kim, Esq. (SBN 280256)
       rkim@fishiplaw.com
4      Fish & Tsang, LLP
       2603 Main Street, Suite 1000
5      Irvine, California 92614-4271
       Telephone: (949) 943-8300
6      Facsimile: (949) 943-8358
7      Attorneys for Plaintiff Sol4Man, Inc.
8      Philip H. Shen (SBN 266315)
       Philip@shenlawoffices.com
9      Law Offices of Philip Shen
       One Park Plaza, Suite 600
10     Irvine, California 92614
       Telephone: (949) 216-0888
11     Facsimile: (949) 535-1788
12     Attorneys for Defendant
       Master Distributor Corp. dba ROC Industries
13
14                          UNITED STATES DISTRICT COURT

15                         CENTRAL DISTRICT OF CALIFORNIA

16     SOL4MAN, INC., a California             Case No. SACV13-01261 DOC (AGRx)
       Corporation,
17                                             Honorable David O. Carter
             Plaintiff,
18                                             CONSENT JUDGMENT AND
                    v.                         INJUNCTION [34]
19
       ROC INDUSTRIES, INC., a
20     California corporation, MASTER
       DISTRIBUTOR CORP., a California
21     corporation dba ROC INDUSTRIES
       and DOES 2 THROUGH 10,
22     Inclusive,
23           Defendants.
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                              xxxxxxx CONSENT JUDGMENT AND INJUNCTION
                           [PROPOSED]
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1                            CONSENT JUDGMENT AND INJUNCTION
2               WHEREAS, plaintiff Sol4man, Inc. (“Sol4man”) and defendant Master
3      Distributor Corporation dba ROC Industries (“Master Distributor”), without
4      waiving any rights except as expressly stated herein, and to avoid the effort,
5      expense and distraction of litigation, have agreed in a separate settlement
6      agreement (“the Settlement”) to settle all claims in the above-captioned matter on
7      the terms set forth in that Settlement; and
8               WHEREAS, as part of that settlement, Sol4man and Master Distributor have
9      agreed to entry by the Court of this Consent Judgment and Injunction.
10              NOW, THEREFORE, it is hereby ORDERED, ADJUDGED, AND
11     DECREED THAT:
12              1.    This Court has continuing jurisdiction over the parties and the subject
13     matter hereof to enforce the terms and provisions of this Consent Judgment and of
14     the Settlement between the parties.
15              2.    Master Distributor, Michael Chiang, and any related directors,
16     entities, officers, employees, subsidiaries, and affiliates of Master Distributor
17     and/or Michael Chiang (“Related Entities”), including future Related Entities, are
18     hereby enjoined and restrained, until the invalidation or expiration of U.S. Patent
19     No. 5,649,437 (“the Patent-At-Issue”), from directly or indirectly making, using,
20     selling, offering for sale, importing, or exporting the water cap lock previously sold
21     as Master Distributor’s Item # 38026 referenced in the Settlement effective April 1,
22     2014 .
23              3.    Master Distributor, Michael Chiang and the Related Entities are
24     hereby enjoined and restrained, until the invalidation or expiration of the Patent-
25     At-Issue, from directly or indirectly making, using, selling, offering for sale,
26     importing or exporting any other product that infringes or is likely to infringe the
27     Patent-At-Issue as described in the Settlement, and/or encouraging or causing such
28     a product to be made, used, sold, offered for sale, imported, or exported, provided
                                                  -2-
                            xxxxxxxxx
                            [PROPOSED] CONSENT JUDGMENT AND INJUNCTION
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1      that Sol4man provides prior written notice of such product to Master Distributor
2      and Michael Chiang as set forth in the Settlement.
3            4.      Master Distributor shall pay damages and attorney fees to Sol4man as
4      set forth in the Settlement.
5            5.      Master Distributor shall ship all remaining units of the product
6      previously sold as Master Distributor’s Item # 38026 to Sol4man as set forth in the
7      Settlement.
8            6.      Master Distributor, Michael Chiang and the Related Entities shall
9      comply with each of the other terms of the Settlement.
10           7.      The above-captioned matter is otherwise hereby dismissed without
11     prejudice in its entirety. In the event of any future litigation between the parties
12     involving the above-referenced U.S. Patent, the Settlement or this Consent
13     Injunction, the Court retains jurisdiction over the parties and the parties may assert
14     any claim or affirmative defense in that matter at that time.
15           8.      The parties shall bear their own fees and costs, except as set forth in
16     the Settlement.
17     IT IS SO ORDERED.
18                  7 2014
       Date: April ___,                        ______________________________
19                                             Honorable David O. Carter
                                               Judge, United States District Court
20
21
22     Submitted by:

23     Date: April 3, 2014                           /s/ Mei Tsang
                                               Mei Tsang, Esq.
24                                             Attorneys for Plaintiff Sol4man, Inc.

25
26     Date: April 3, 2014                            /s/ Philip Shen
                                               Philip Shen, Esq.
27                                             Attorneys for Defendant Master Distributor
                                               Corporation dba ROC Industries
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                           xxxxxxxxx CONSENT JUDGMENT AND INJUNCTION
                           [PROPOSED]
